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                                                                                           CLOSED
                                 U.S. District Court
   United States District Court for the Western District of Washington (Seattle)
            CRIMINAL DOCKET FOR CASE #: 2:22−mj−00282−SKV−1

  Case title: USA v. Jani                                    Date Filed: 06/23/2022

  Other court case number: 22−CR−00202−PAB District of       Date Terminated: 06/28/2022
                           Colorado

  Assigned to: Hon. S. Kate Vaughan

  Defendant (1)
  Dhruv Jani                           represented by Gregory Geist
  TERMINATED: 06/28/2022                              FEDERAL PUBLIC DEFENDER'S OFFICE
                                                      (SEA)
                                                      1601 5TH AVE
                                                      STE 700 WESTLAKE CENTER OFFICE
                                                      TOWER
                                                      SEATTLE, WA 98101
                                                      206−553−1100
                                                      Email: gregory_geist@fd.org
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Public Defender or Community
                                                      Defender Appointment

  Pending Counts                                     Disposition
  None

  Highest Offense Level (Opening)
  None

  Terminated Counts                                  Disposition
  None

  Highest Offense Level
  (Terminated)
  None

  Complaints                                         Disposition
  Money Laundering Conspiracy −
  18:1956(h) and 1956(a)(1)(B)(i))
  Money Laundering −
  18:1956(a)(1)(B)(i) and 2 (Counts
  2−6)
  Interstate Transmission of a
  Threatening Communication −
  18:875(c)


  Plaintiff
  USA                                         represented by Miriam R Hinman
                                                             UNITED STATES ATTORNEY'S
                                                             OFFICE
Case 1:22-cr-00202-RM Document 10-1 Filed 06/28/22 USDC Colorado Page 2 of 10


                                                                700 STEWART STREET
                                                                STE 5220
                                                                SEATTLE, WA 98101
                                                                206−553−4650
                                                                Email: miriam.hinman@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Assistant US Attorney

   Date Filed   #   Docket Text
   06/23/2022    1 CHARGING DOCUMENT RECEIVED FROM the District of Colorado as to Dhruv
                   Jani. (TLJ) (Entered: 06/23/2022)
   06/23/2022       Arrest of Dhruv Jani on 6/23/2022. (TLJ) (Entered: 06/23/2022)
   06/23/2022    4 ORDER APPOINTING FEDERAL PUBLIC DEFENDER appointing Gregory Geist
                   for Dhruv Jani. On the basis of the defendant's sworn financial statement, the court
                   finds that he/she is financially unable to retain counsel. It is hereby ORDERED that
                   the Federal Public Defender for the Western District of Washington be and hereby is
                   appointed to represent the defendant pursuant to Title 18 United States Code 3006A.
                   Approved by Hon. S. Kate Vaughan. (No.pdf image attached) (TLJ) (Entered:
                   06/23/2022)
   06/23/2022    5 Minute Entry for proceedings held before Hon. S. Kate Vaughan− CRD: T. Johnson;
                   AUSA: Miriam Hinman; Def Cnsl: Greg Geist; PTS: Erin O'Donnell; Court Reporter:
                   Digital Recording; Time of Hearing: 2:00PM; Courtroom: 12B; INITIAL
                   APPEARANCE IN RULE 5(c)(3) PROCEEDINGS as to Dhruv Jani held on
                   6/23/2022. Defendant present in custody. Defendant advised of rights. Financial
                   Affidavit reviewed. Counsel appointed. Defendant advised of charges and penalties in
                   the District of Colorado. Government files Motion for Detention. Defense counsel
                   requests a Detention and Identity hearing. Hearings set. Defendant remanded to
                   custody.

                    Detention and Identity Hearing set for 6/28/2022 at 11:30 AM in Courtroom 12B
                    before Hon. Brian A Tsuchida. (TLJ) (Entered: 06/23/2022)
   06/23/2022    6 MOTION for Detention by USA as to Dhruv Jani. (TLJ) (Entered: 06/23/2022)
   06/28/2022    8 Minute Entry for proceedings held before Hon. Brian A Tsuchida− CRD: A. Quach;
                   AUSA: Miriam Hinman; Def Cnsl: Greg Geist; PTS: Erin O'Donnell; Court Reporter:
                   Digital Recording; Time of Hearing: 11:30am; Courtroom: 12B; RULE 5
                   DETENTION HEARING as to Dhruv Jani held on 6/28/2022. Defendant present in
                   custody. Court reviews record. Defendant stipulates to detention and waives Identity
                   Hearing. Court signs Order of Transfer. For reasons stated on the record, defendant
                   ORDERED detained and remanded to custody. (AQ) (Entered: 06/28/2022)
   06/28/2022    9 DETENTION ORDER by Hon. Brian A Tsuchida, re 6 MOTION for Detention as to
                   Dhruv Jani. (cc: PTS, USMO) (AQ) (Entered: 06/28/2022)
   06/28/2022   10 WAIVER OF RULE 5 HEARINGS AND ORDER OF TRANSFER to the District of
                   Colorado as to Dhruv Jani by Hon. Brian A Tsuchida. (cc: PTS, USMO) (AQ)
                   (Entered: 06/28/2022)
   06/28/2022   11 LETTER to the District of Colorado regarding Rule 5 Transfer as to defendant Dhruv
                   Jani. (AQ) (Entered: 06/28/2022)
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 5
                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 7

 8    UNITED STATES OF AMERICA,

 9                                Plaintiff,                  CASE NO. MJ22-282

10            v.                                              DETENTION ORDER

11    DHRUV JANI,

12                                Defendant.

13           The Court has conducted a detention hearing under 18 U.S.C. § 3142(f), and concludes

14    there are no conditions which the defendant can meet which would reasonably assure the

15    defendant’s appearance as required or the safety of any other person and the community.

16           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

17           The Grand Jury in the District of Colorado has returned an indictment charging Dhruv

18    Jani and others with Conspiracy to Commit Money Laundering; Money Laundering; and

19    Interstate Transmission of a Threatening Communication. The indictment alleges Defendant fled

20    to India, his home country and once he was there he instructed others in the United States to

21    make deposits in furtherance of the money laundering offenses.

22           Defendant is a citizen of India. His wife and other family members live in India. He has

23    no ties to this District and his ties to the United States seems to revolve around the state of

      Colorado and seem to be related to the offenses he allegedly committed. Defendant Jani reports


      DETENTION ORDER - 1
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 1    he has a "wife" in Colorado but that individual is named as the person who Defendant allegedly

 2    threatened to kill in Count 7. There is no driver's licensing information regarding Defendant in

 3    this state of in Colorado, and Defendant did not provide a release address, Defendant did not

 4    contest detention.

 5           It is therefore ORDERED:

 6           (1)     Defendant shall be detained pending trial and committed to the custody of the

 7    Attorney General for confinement in a correctional facility separate, to the extent practicable,

 8    from persons awaiting or serving sentences, or being held in custody pending appeal;

 9           (2)     Defendant shall be afforded reasonable opportunity for private consultation with

10    counsel;

11           (3)     On order of a court of the United States or on request of an attorney for the

12    Government, the person in charge of the correctional facility in which Defendant is confined

13    shall deliver the defendant to a United States Marshal for the purpose of an appearance in

14    connection with a court proceeding; and

15           (4)     The Clerk shall provide copies of this order to all counsel, the United States

16    Marshal, and to the United States Probation and Pretrial Services Officer.

17           DATED this 28th day of June, 2022.

18

19                                                                 A
                                                            BRIAN A. TSUCHIDA
20                                                          United States Magistrate Judge

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      DETENTION ORDER - 2
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                                  UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF WASHINGTON
                                             OFFICE OF THE CLERK
                                                      Seattle
                                            700 Stewart St., Suite 2310
                                                Seattle, WA 98101
                                                 (206) 370-8400




 RAVI SUBRAMANIAN                                                                             ERIC SMITS
District Court Executive                                                                   Chief Deputy Clerk
     Clerk of Court




                                               June 28, 2022


       CLERK, US DISTRICT COURT
       Alfred A. Arraj
       United States Courthouse
       901 19th Street, 2nd Floor
       Denver, CO 80294

       Re: DHRUV JANI
       Your No: 22-CR-00202-PAB
       Our No: MJ22-282

       Dear Clerk

       Pursuant to the order transferring the above captioned case to your court per RULE 5(c)(3)(D),
       dated 6/28/2022, please download the documents maintained electronically by the District Court
       through PACER for the Western District of Washington at https://ecf.wawd.uscourts.gov/.


       Please acknowledge receipt.


       Sincerely,


       RAVI SUBRAMANIAN, District Court Executive


       By Andy Quach,
       Deputy Clerk
